                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               CENTRAL DIVISION

    UNITED STATES OF AMERICA,

                 Plaintiff,                               No. CR07-3038-LTS

    vs.
                                                          MEMORANDUM
    GENE LEONARD SMITH,                                 OPINION AND ORDER
                 Defendant.

                              ____________________________

                                 I.     INTRODUCTION
          This case is before me on defendant Gene Leonard Smith’s motions (Doc. No. 85,
92) for compassionate release. The Government has filed a response (Doc. No. 94) and
Smith has filed a reply (Doc. No. 97). Oral argument is not necessary. See Local Rule
7(c).


                                  II.    BACKGROUND
          On November 6, 2008, United States District Judge Mark W. Bennett sentenced
Smith to life in prison on one count of conspiracy to distribute 500 grams or more of
methamphetamine mixture following at least two felony drug convictions and using a
minor to distribute methamphetamine mixture and 60 months on one count of possession
of a firearm in furtherance of a drug trafficking crime, to be served consecutively to life
in prison.1 See Doc. No. 58. Smith’s health has deteriorated during his incarceration.
In October 2017, Smith underwent a precautionary chest x-ray because of his history of
asthma and chronic obstructive pulmonary disease (COPD). Doc. No. 92-3 at 6. The


1
 Judge Bennett was required to sentence Smith to life in prison due to Smith’s previous felony
drug convictions. Doc. No. 64 at 9.




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x-ray showed an 8-millimeter (mm) and 4 mm left upper lobe nodular density. 2 Id. In
July 2018, Smith underwent a computerized tomography (CT) scan that showed a 15 mm
left upper lobe nodule. Id. In January 2019, Smith underwent a positron emission
tomography (PET) scan3 that showed a left upper lobe mass with a standardized uptake
value (SUV) of 7.6. Id. In July 2019, another CT scan showed a 1.9 centimeter (cm)
left upper lobe lung nodule. Id.
       In September 2019, two years after it was first noted on an x-ray, Smith was
diagnosed with stage IIIA non-small cell lung cancer4 that had spread to his lymph nodes.
Id. at 1–5. That month he underwent wedge resection surgery in an attempt to remove
cancerous lung tissue. Id. at 6. Smith had a post-surgery complication because he caught
an infection with prolonged chest tube drainage. Id. In November 2019, Smith was
transferred from FCC Petersburg to FMC Butner. Id. He had a consultation appointment
with Dr. Andrews Carden on November 15, 2019. Id. at 6–7. The consultation report
states that Dr. Carden planned to start Smith on chemotherapy and after completing
chemotherapy to run another PET scan to evaluate Smith’s response to therapy. Id. at


2
 A lung nodule is a round area that is more solid than normal lung tissue. Most nodules are not
cancer, but for some individuals can be an early cancer. A CT scan is often used to determine
whether a nodule is cancer. A nodule that grows larger over time is a sign that it could be
cancer. Christopher G. Slatore, Renda Soylemez Winer and Amber D. Laing, What is a Lung
Nodule?,      193     Am.     J.      Respir.     Crit.   Care      Med.     11–12     (2016),
https://www.thoracic.org/patients/patient-resources/resources/lung-nodules-online.pdf.
3
  A PET scan is an imaging test that helps reveal how an individual’s tissues and organs are
functioning. It uses a radioactive drug (tracer) to show this activity. PET scans are used to,
among other things, detect cancer. Higher levels of radiotracer uptake in an area of the body
often corresponds to areas of disease. Positron Emission Tomography Scan, Mayo Clinic,
https://www.mayoclinic.org/tests-procedures/pet-scan/about/pac-20385078 (last visited May
14, 2020).
4
  In stage IIIA non-small cell lung cancer, the tumor is 5 cm or smaller and cancer has spread to
lymph nodes.       Stage IIIA Non-Small Cell Lung Cancer, National Cancer Institute,
https://www.cancer.gov/publications/dictionaries/cancer-terms/def/stage-iiia-non-small-cell-
lung-cancer (last visited May 14, 2020).

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7. The report also states that Dr. Carden informed Smith that, “[d]espite chemotherapy,
the five-year overall survival rate is approximately 25% in stage III non-small cell lung
cancer.” Id. at 6.
       On January 21, 2020, Smith finished chemotherapy treatment. Id. at 14. On
February 4, 2020, another PET scan was conducted. Doc. No. 94-5. The accompanying
report noted that there was “a focal 1.2 cm area of radiotracer uptake involving the left
suprahilar region at the surgical site suspicious for residual/recurrent tumor at that site.”
Id. at 3. The report stated that there was probable radiotracer uptake in 1.2 cm of the
right perihilar lymph node and neoplastic infiltration 5 was possible. Id. The report also
found mild radiotracer uptake involving the bony structures in the lower thoracic and
lumber spine region which could relate to posttreatment changes, but “metastatic disease
[was] not entirely excluded.” Id. Finally, the report noted radiotracer uptake involving
the tongue base and the palatine tonsil regions which may have been physiologic or
developing neoplastic infiltration. Id.
       On February 13, 2020, Smith had a follow-up appointment for his lung cancer
with a physician’s assistant. Doc. No. 92-3 at 13–15. The appointment notes state that
a plan for Smith’s cancer going forward had not been discussed with oncology yet. Id.
at 14. On February 21, 2020, Smith had another follow-up appointing regarding his lung
cancer with Dr. Carden. Id. at 16–17. Dr. Carden’s appointment notes state that Smith’s
February 2020 PET scan was “equivocal for residual disease” and Smith needed to be
seen by a cardiothoracic surgeon for possible mediastinoscopy.6 Id. at 16. Dr. Carden


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  Neoplastic infiltration means that the cancer has spread beyond the layer of tissue in which it
developed and is growing into surrounding, healthy tissues. Infiltrating Cancer, National Cancer
Institute, https://www.cancer.gov/publications/dictionaries/cancer-terms/def/infiltrating-cancer
(last visited May 14, 2020).
6
  Mediastinoscopy is a procedure a doctor uses to look inside the mediastinum—the area behind
the breastbone and between the lungs. It is often done to check for cancer or stage lung cancer.
Mediastinoscopy, American Cancer Society, https://www.cancer.org/treatment/understanding-
your-diagnosis/tests/endoscopy/mediastinoscopy.html (last visit May 21, 2020).
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also put in a request for “urgent” cardiothoracic surgery with a target date of March 6,
2020, and wrote that the reason for the request was, “[s]tage IIIA non small cell lung
cancer post-surgery and adjuvant chemo. PET scan is concerning for mediastinal disease.
Please assess for mediastinoscopy for confirmation. Repeat PET scan ordered for 2
months.” Id. at 17. On March 10, 2020, another medical provider wrote that Smith’s
lung cancer was in “advanced stages.” Id. at 19. On March 16, 2020, an administrative
note was added to Smith’s medical file stating, “patient with lung cancer. He is being
planned for further surgery. He has 3 appointments in place: PFT, CT [and] surgeon.
Preanesthesia on 3/27/20.” Id. at 21.
      On March 27, 2020, Smith had an initial consultation with Dr. Matthew Hartwig,
a cardiothoracic surgeon, at the Duke Cancer Center Thoracic Clinic. Id. at 29–38. Dr.
Hartwig wrote that his evaluation of Smith “indicates he likely needs diagnoses of
abnormal areas on PET scan; there are 2 areas in particular, in the left and right hilum.”
Id. at 37. He also wrote, “[w]e need to get images ASAP and then plan biopsy with
either Dr. Hartwig or IP, depending on location of nodes.” Id. at 38.
      Smith also suffers from a number of health conditions other than lung cancer.
Medical records indicate Smith has a history of morbid obesity, sleep apnea,
hyperlipidemia, hypertension, anxiety, depression, antisocial personality and COPD. Id.
at 6, 10. On February 13, 2020, he reported that he had to use his albuterol rescue
inhaler two to three times daily because of shortness of breath with exertion while
conducting daily living activities. Id. at 13. He also reported that he uses a CPAP
machine for his sleep apnea every night but is fatigued every morning. Id.
      Further, Smith has a long history of lower back pain and has undergone multiple
back surgeries. Id. at 8. He was issued a wheelchair in early 2017 and has been seen
using it at his medical appointments. Id. at 6, 8, 10, 14, 39. Medical records state that
Smith is able to ambulate independently for only short distances and generally uses a
walker or wheelchair for longer distances. Id. at 8.


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                   III.    COMPASSIONATE RELEASE STANDARDS
         A court’s ability to modify a sentence after it has been imposed is extremely
limited. One way a court may modify a sentence is through “compassionate release” as
outlined in 18 U.S.C. § 3582(c)(1)(A), which was recently modified by the First Step
Act of 2018 (FSA). See Pub. L. No. 115-391, § 603. In the past, 18 U.S.C. §
3582(c)(1)(A) permitted a court to reduce a defendant’s term of imprisonment only upon
the motion of the Director of Bureau of Prisons (BOP).                The FSA modified §
3582(c)(1)(A) such that a defendant may now directly petition the court “after the
defendant has fully exhausted all administrative rights to appeal a failure of the Bureau
of Prisons to bring a motion on the defendant's behalf or the lapse of 30 days from the
receipt of such a request by the warden of the defendant's facility, whichever is earlier.”
See Mohrbacher v. Ponce, No. CV18-00513, 2019 WL 161727, at *1 (C.D. Cal. Jan.
10, 2019) (discussing modifications made to § 3582(c)(1)(A) by the FSA); see also United
States v. Perez-Asencio, No. CR18-3611, 2019 WL 626175, at *2–3 (S.D. Cal. Feb. 14,
2019).
         If a defendant fully exhausts administrative remedies, the court may, upon motion
of the defendant, reduce the defendant’s sentence, after considering the factors set forth
in 18 U.S.C. § 3553(a) to the extent they are applicable, if the court finds that:
         (i) extraordinary and compelling reasons warrant such a reduction; or
         (ii) the defendant is at least 70 years of age, has served at least 30 years in
         prison, pursuant to a sentence imposed under section 3559(c), for the
         offense or offenses for which the defendant is currently imprisoned, and a
         determination has been made by the Director of the Bureau of Prisons that
         the defendant is not a danger to the safety of any other person or the
         community, as provided under section 3142(g);
         and that such a reduction is consistent with applicable policy statements
         issued by the Sentencing Commission . . .
18 U.S.C. § 3582(c)(1)(A). Smith does not meet the requirements of § 3582(c)(1)(A)(ii).
He is under 70 years of age. See Doc. No. 59 at 2. Accordingly, Smith’s only possible
avenue for relief is § 3582(c)(1)(A)(i).

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      The starting point in determining what constitutes “extraordinary and compelling
reasons” under § 3582(c)(1)(A)(i) is the Sentencing Guideline discussing compassionate
release issued by the United States Sentencing Commission. See U.S.S.G. § 1B1.13
(U.S. Sentencing Comm’n 2018); see also United States v. Hall, No. CR98-7, 2019 WL
6829951, at *3 (E.D. Ky. Dec. 13, 2019); United States v. Rivernider, No. CR10-222,
2019 WL 3816671, at *2 (D. Conn. Aug. 14, 2019). The Guideline provides that
extraordinary and compelling reasons exist in the following circumstances:
      (A) Medical Condition of the Defendant.—
          (i) The defendant is suffering from a terminal illness (i.e., a serious
          and advanced illness with an end of life trajectory). A specific
          prognosis of life expectancy (i.e., a probability of death within a
          specific time period) is not required. Examples include metastatic
          solid-tumor cancer, amyotrophic lateral sclerosis (ALS), end-stage
          organ disease, and advanced dementia.
          (ii) The defendant is—
             (I) suffering from a serious physical or medical condition,
             (II) suffering from a serious functional or cognitive
             impairment, or
             (III) experiencing deteriorating physical or mental health
             because of the aging process,
          that substantially diminishes the ability of the defendant to provide
          self-care within the environment of a correctional facility and from
          which he or she is not expected to recover.
      (B) Age of the Defendant.—The defendant (i) is at least 65 years old; (ii) is
      experiencing a serious deterioration in physical or mental health because of
      the aging process; and (iii) has served at least 10 years or 75 percent of his
      or her term of imprisonment, whichever is less.
      (C) Family Circumstances.—
          (i) The death or incapacitation of the caregiver of the defendant's
          minor child or minor children.
          (ii) The incapacitation of the defendant's spouse or registered partner
          when the defendant would be the only available caregiver for the
          spouse or registered partner.


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      (D) Other Reasons.—As determined by the Director of the Bureau of
      Prisons, there exists in the defendant's case an extraordinary and
      compelling reason other than, or in combination with, the reasons described
      in subdivisions (A) through (C).
U.S.S.G. § 1B1.13 cmt. n.1.
      This Guideline predates the FSA and has “not been amended to reflect that, under
the FSA, a defendant may now move for compassionate release after exhausting
administrative remedies.” Rivernider, 2019 WL 3816671, at *2. Courts are split on
whether the policy statement is binding because it predates the FSA’s changes to 18
U.S.C. § 3582(c)(1)(A). A number of district courts have concluded that Guideline §
1B1.13 cmt. n.1 does not restrain a court’s assessment of whether extraordinary and
compelling reasons exist to release a defendant. See, e.g., United States v. Rodriguez,
CR17-00021, 2019 WL 6311388, at *7 (N.D. Cal. Nov. 25, 2019); United States v.
Urkevich, No. CR03-37, 2019 WL 6037391, at *3 (D. Neb. Nov. 14, 2019); United
States v. Brown, No. CR05-00227, 2019 WL 4942051, at *4 (S.D. Iowa Oct. 8, 2019);
United States v. Fox, CR14-03, 2019 WL 3046086, at *3 (D. Me. July 11, 2019); United
States v. Beck, CR13-186-6, 2019 WL 2716505, at *6 (M.D.N.C. June 28, 2019); United
States v. Cantu, No. CR05-458, 2019 WL 2498923, at *4 (S.D. Tex. June 17, 2019).
Other courts have concluded that extraordinary and compelling reasons exist only if they
are included in the Guideline. See, e.g., United States v. Lynn, No. CR89-0072, 2019
WL 3805349, at *4 (S.D. Ala. Aug. 13, 2019).
      As I have previously stated, I agree with those courts that have found that although
the Guideline provides helpful guidance on what constitutes extraordinary and compelling
reasons, it is not conclusive given the recent statutory changes. See United States v.
Schmitt, No. CR12-4076-LTS, 2020 WL 96904, at *3 (N.D. Iowa Jan. 8, 2020); see
also Rodriguez, 2019 WL 6311388, at *7 (Congress knew that the BOP rarely granted
compassionate release requests prior to the FSA, and the purpose of the FSA is to increase
the number of compassionate release requests granted by allowing defendants to file


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motions in district courts directly even after the BOP denies their request); Brown, 2019
WL 4942051, at *3 (same).


                                  IV.    DISCUSSION
A.     Exhaustion of Administrative Remedies
       On October 16, 2019, Smith submitted an administrative request for
compassionate release based on his cancer diagnosis and other health issues to the warden
at FCC Petersburg, where he was imprisoned at the time. See Doc. No. 92-1 at 3–7.
Before Smith received a response, he was transferred to FMC Butner. Doc. No. 92 at
4. On February 3, 2020, Smith submitted another administrative request to the warden
at FMC Butner. Doc. No. 94-3. On February 13, 2020, Smith’s request was denied by
the warden at FMC Butner because Smith did “not meet the criteria under Terminal
Medical Conditions.” Doc. No. 92-1 at 8. On March 20, 2020, Smith appealed the
warden’s decision. Id. at 9. Smith argues that, at least as of May 5, 2020, his appeal
has not been ruled on. Doc. No. 92 at 5. The Government contends that Smith’s appeal
was denied by the Regional Office of the BOP on April 8, 2020, and that Smith’s appeal
to the BOP Central Office submitted on April 16, 2020, is still pending. Doc. No. 94 at
6 n.3; Doc. No. 94-8 at 5. On March 27, 2020, Smith filed his pro se motion for
compassionate release with this court. See Doc. No. 85. On May 5, 2020, Smith filed
another motion for compassionate release through counsel. See Doc. No. 92.
       The parties disagree whether Smith has properly exhausted his administrative
remedies within the BOP. There is no dispute that Smith filed his present pro se motion
for compassionate release (Doc. No. 85) more than 30 days after the warden at FMC
Butner received Smith’s administrative request as required by 18 U.S.C. §
3582(c)(1)(A).7 However, the Government notes that Smith’s request to the warden did

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  The Government at one point argues that Smith did not properly exhaust administrative
remedies because he did not file his pro se motion for compassionate release “within 30 days

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not mention COVID-19. Doc. No. 94 at 6. The Government argues that to properly
exhaust administrative remedies, Smith’s administrative request must raise the same
issues asserted in his motion for compassionate release. Id. at 10. The Government
contends that the BOP must be allowed the opportunity to determine whether Smith is
eligible for compassionate release in light of the COVID-19 pandemic.                Id.   The
Government argues that I should not excuse Smith’s failure to raise the COVID-19
pandemic in his request to his warden and I should deny his motion without prejudice for
this reason. Id. at 12. Smith responds that he presents extraordinary and compelling
reasons for compassionate release because of his serious medical issues; the COVID-19
pandemic is another issue that has arisen after Smith’s administrative request was made.
Doc. No. 97 at 3. Smith argues that the fact that his situation has gotten worse because
of the pandemic does not mean that his motion should be denied and he should be required
to start the administrative process over again. Id. at 3–4.
       Section 3582(c)(1)(A) unambiguously instructs that a defendant can bring a motion
for compassionate release in federal court only “after [he] has fully exhausted all
administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on the
defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden
of the defendant’s facility, whichever is earlier.” I agree with the majority of courts to
weigh in on this issue that the statutory text of § 3582(c)(1)(A) makes it clear that a court
cannot entertain a compassionate release motion unless a defendant has exhausted
administrative remedies—even in light of the COVID-19 pandemic. See, e.g., United
States v. Raia, 954 F.3d 594, 597 (3d Cir. Apr. 2, 2020); United States v. James, 15-cr-
255 (SRN), 2020 WL 1922568, at *3 (D. Minn. Apr. 21, 2020); United States v. Jenkins,


after his receipt of his filing the request with the Warden on February 3, 2020, or after the
Warden’s decision on February 13, 2020.” Doc. No. 94 at 11. This argument is meritless. It
completely misreads the language of 18 U.S.C. § 3582(c)(1)(A) and contradicts the
Government’s own admission, elsewhere in its brief, that a defendant properly exhausts
administrative remedies if he files a motion “30 days after receipt of a request by the warden.”
Id. at 9 n.6.
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No. 4:15-CR-3079, 2020 WL 1872568, at *1 (D. Neb. Apr. 14, 2020); United States v.
Boyles, No. 18-20092-JAR, 2020 WL 1819887, at *2 (D. Kan. Apr. 10, 2020); United
States v. Aguila, No. 2:16-cr-00046-TLN, 2020 WL 1812159, at *1 (E.D. Ca. Apr. 9,
2020); United States v. Epstein, No. 14-287 (FLW), 2020 WL 1808616, at *2 (D.N.J.
Apr. 9, 2020); United States v. Alam, No. 15-20351, 2020 WL 1703881, at *2 (E.D.
Mich. Apr. 9, 2020); United States v. Holden, No. 3:13-cr-00444-BR, 2020 WL
1673440, at *7 (D. Or. Apr. 6, 2020); United States v. Woodson, No. 18-cr-845 (PKC),
2020 WL 1673253, at *3 (S.D.N.Y. Apr. 6, 2020); United States v. Weiland, No. 18
Cr. 273 (LGS), 2020 WL 1674137, at *1 (S.D.N.Y. Apr. 6, 2020); United States v.
Johnson, No. RDB-14-0441, 2020 WL 1663360, at *6 (D. Md. Apr. 3, 2020); United
States v. Carver, No. 4:19-cr-06044-SMJ, 2020 WL 1604968, at *1 (E.D. Wash. Apr.,
1, 2020); United States v. Zywotko, No. 2-19-cr-113-FtM-60NPM, 2020 WL 1492900,
at *1 (M.D. Fla. Mar. 27, 2020). Most courts that hold otherwise waive the exhaustion
requirement based on Second Circuit precedent.         See United States v. Colvin, No.
3:19cr179 (JBA), 2020 WL 1613943, at *2 (D. Conn. Apr. 2, 2020); United States v.
Zukerman, No. 16 Cr. 194 (AT), 2020 WL 1659880, at *2 (S.D.N.Y. Apr. 3, 2020);
Poulios v. United States, No. 2:09-cr-109, 2020 WL 1922775, at *1 (E.D. Va. Apr. 21,
2020).
         The Government argues that § 3582(c)(1)(A) is a jurisdictional requirement rather
than a claim-processing rule. See Doc. No. 94 at 9. For reasons explained below, the
outcome in this case is the same regardless of whether the requirement is a jurisdictional
or claim-processing rule. See United States v. Britton, No. 18-cr-108-LM, 2020 WL
2404969, at *4 (D.N.H. May 12, 2020) (“Thus, the outcome would be the same under
this statute whether the court categorized the exhaustion requirement as jurisdictional or
a claim-processing rule.”); United States v. Miamen, No. CR 18-130-1 WES, 2020 WL
1904490, at *2 (D.R.I. Apr. 17, 2020) (acknowledging circuit and district court split
about whether § 3582(c) generally is jurisdictional, but finding that court need not reach
the question because even if exhaustion requirement is non-jurisdictional result would be
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the same); United States v. Lugo, No. 2:19-cr-00056-JAW, 2020 WL 1821010, at *3 (D.
Maine Apr. 10, 2020) (same).
       The Government next argues that § 3582(c)(1)(A) requires Smith to refer to
COVID-19 in his administrative request before he files a motion for compassionate
release based on his medical conditions, or, in other words, that § 3582(c)(1)(A) contains
an issue exhaustion requirement. Doc. No. 94 at 10. The few district courts that have
addressed this issue disagree on whether a defendant must specifically mention the
COVID-19 pandemic in a BOP administrative request for compassionate release. Courts
answering in the affirmative have found that the BOP should be given an opportunity to
address COVID-19’s impact on the defendant. See United States v. Valenta, No. 15-
161, 2020 WL 1689786, at *1 (W.D. Pa. Apr. 7, 2020); States v. Jenkins, No. 4:15-
CR-3079, 2020 WL 1872568, at *1 (D. Neb. Apr. 14, 2020); United States v. Mogavero,
No. 2:15-cr-00074-JAD-NJK, 2020 WL 1853754, at *2 (D. Nev. Apr. 13, 2020). Other
courts explain that such motions are based on health conditions raised in the
administrative request, and the COVID-19 pandemic “merely accentuates [a] meritorious
claims for release.” Miller v. United States, No. 16-20222-1, 2020 WL 1814084, at *2
(E.D. Mich. Apr. 9, 2020); United States v. Coker, No. 3:14-CR-085, 2020 WL
1877800, at *3 (E.D. Tenn. Apr. 15, 2020). Another district court within the Eighth
Circuit has found that “issue exhaustion is inappropriate because § 3582 contains no such
requirement and BOP compassionate release requests are not adversarial proceedings.”
United States v. Brown, --- F. Supp. 3d ---, No. 4:05-CR-00227-1, 2020 WL 2091802,
at *4 (S.D. Iowa Apr. 9, 2020) (citing Sims v. Apfel, 530 U.S. 103, 109 (2000) (“The
desirability of a court imposed a requirement of issue exhaustion depends on the degree
to which the analogy to normal adversarial litigation applies in a particular administrative
proceeding.”)).
       Whether in a particular case an inmate may have failed to exhaust by not
mentioning COVID-19 in a request to the warden is a question that can be saved for
another case. In this case, Smith has clearly exhausted his administrative remedies.
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Smith’s request for compassionate release is based primarily on his cancer diagnosis,
which, according to the medical records, gives him less than a 25 percent chance of
surviving the next five years. Smith’s motion is not primarily about COVID-19. Rather,
COVID-19 is simply another factor that exacerbates his ongoing health concerns. Put
another way, even without the ongoing COVID-19 pandemic, Smith’s health conditions
would still be a basis for him to request compassionate release. Indeed, Smith started the
compassionate release process long before COVID-19 came into prominence, and
perhaps, even before it came into existence. See Doc. No. 92-1 at 3–7 (Smith first
submitted an administrative request for compassionate release on October 16, 2019).
       The COVID-19 pandemic only increases the urgency of Smith’s health conditions
and potential health outcomes. In addition, this is not a scenario in which Smith should
have foreseen the COVID-19 pandemic at the time he filed his administrative request.
He filed that first request on October 16, 2019, and his second request on February 3,
2020, long before any lay person would have foreseen the impact COVID-19 pandemic.
Asking him to restart his process because of the COVID-19 pandemic would be
tantamount to telling inmates that they must restart the process each time their condition
deteriorates. That, clearly, is not the purpose of the statute.8
       The Government claims that the “BOP conducts an extensive assessment for
[compassionate release requests]” and “the BOP completes a diligent and thorough
review, with considerable expertise concerning both the inmate and the conditions of
confinement.” Doc. No. 94 at 11. The record before me does not support this assertion.
The warden’s denial of Smith’s compassionate release request gave no explanation for
his decision, only stating that “it has been determined that you do not meet the criteria



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  According to the Government’s argument, I should not consider changes in Smith’s health
status after February 3, 2020, because he did not raise those issues in his February 3 request.
However, that is a standard even the Government does not abide by. See Doc. No. 94 at 17
(The Government bases its argument against finding extraordinary and compelling reasons on
medical records dated after Smith’s administrative request and the warden’s denial).
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under Terminal Medical Conditions at this time.” Doc. No. 92-1 at 8. Behind the scenes,
the BOP asked Dr. Andres Carden if Smith meets the criteria for compassionate release
and, if not, why. Doc. No. 94-6 at 7. Dr. Carden replied, “Unclear prognosis at this
time. I recommend he re-applies in 3 months.” Id. This hardly demonstrates that the
BOP conducted an “extensive assessment” or a “diligent and thorough review” of Smith’s
medical conditions in considering his request.
      Circumstances have changed since Smith initially filed his administrative request.
The basis for Smith’s request has not.      I will not require Smith to submit another
administrative request, a process that has already proven unavailing, simply because
Smith’s situation is now more concerning in light of COVID-19. Smith has exhausted
his administrative remedies pursuant to § 3582(c)(1)(A) because he filed his pro se motion
for compassionate release more than 30 days after he submitted an administrative request
to his warden requesting compassionate release due to his health conditions.


B.    Extraordinary and Compelling Reasons
      Smith argues that extraordinary and compelling reasons exist because he has been
diagnosed with stage IIIA non-small cell lung cancer that has spread to his lymph nodes.
Doc. No. 92 at 7. He states that, even with treatment, the five-year overall survival rate
of individuals with his type of cancer is approximately 25 percent. Id. He explains that
BOP medical providers have described his cancer as being in “advanced stages.” Id. at
8 (citing Doc. No. 92-3 at 19). In addition to cancer, Smith points to his other serious
medical issues, all of which are COVID-19 comorbidities, and his back issue that has left
him largely confined to a wheelchair. Id. He argues that this combination amounts to
extraordinary and compelling reasons that justify his release. Id.
      The Government argues, confusingly, that Smith’s BOP medical records do not
support his contention that he has lung cancer. Doc. No. 94 at 17. The Government
claims that Smith is not terminally ill because he is “going through the process to
determine if his lung cancer has returned.” Id. The Government concedes that Smith’s
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lung cancer and other health issues, such as COPD, could make Smith more vulnerable
to serious illness if he contracts COVID-19. Id. However, the Government argues that
Smith has been tested for COVID-19 on March 27, 2019, and twice daily from April 30,
2020, through May 5, 2020. Id.


       1.     Smith’s Health Conditions
       Smith is presently suffering from a serious and advanced illness—stage IIIA non-
small cell lung cancer.      The Government’s contention that the record does not
demonstrate that Smith has lung cancer is baffling. Smith was diagnosed with stage IIIA
non-small cell lung cancer in September 2019. Medical records, however, indicate that
the BOP knew or should have known that Smith had signs of lung cancer that could have
been addressed much sooner. A lung nodule was first discovered in October 2017. While
most nodules are not cancerous, a CT scan in July 2018 showed that the nodule had
grown, indicating that it could be cancerous. Nothing further was done until January
2019 when a PET scan indicated a mass in Smith’s left lung that could be cancerous.
Even after the PET scan, nothing was done until July 2019, when another CT scan
showed that the lung nodule had grown even more. Nothing was done to address these
concerning scans until September 2019, when Smith underwent wedge resection surgery.
These scans indicate that BOP medical officials had reason to suspect Smith’s cancer for
two years prior to starting treatment.
       In November 2019, Smith was told that he would undergo chemotherapy and
would then undergo another PET scan to evaluate whether chemotherapy was successful.
He was also told that despite chemotherapy, the five-year overall survival rate for patients
with stage III non-small cell lung cancer is only 25 percent. The PET scan done after
Smith completed chemotherapy did not bring good news. It indicated that his left lung
was suspicious for a residual or recurrent tumor and that his cancer possibly spread to
his right perihilar lymph nodes, bony structures in his lower thoracic and lumbar spine
region and his tongue base and palatine tonsil regions. Dr. Carden wrote the scan was
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“equivocal for disease” and requested that Smith undergo urgent cardiothoracic surgery
because of Smith’s “[s]tage IIIA non small cell lung cancer post surgery and adjuvant
chemo.” Doc. No. 92-3 at 16–17. After the PET scan, other medical providers wrote
that Smith’s lung cancer was in “advanced stages” and that he was “being planned for
further surgery.” Id. at 19, 21.
       Smith’s appointment with Dr. Hartwig at the Duke Medical Center likewise did
not bring good news. Dr. Hartwig requested images “ASAP” and a biopsy because
Smith needed “diagnoses of abnormal areas on PET scan.” Id. at 37–38. It is unclear
why the Government believes this record does not demonstrate that Smith presently has
cancer. The Government may think that Smith was cured of his lung cancer after
completing chemotherapy. However, that thought is not supported by the records—which
the Government itself submitted with its brief. See Doc. Nos. 94-1 to 94-13. Rather,
the medical records provided show that none of Smith’s doctors found Smith to be cancer
free after he completed chemotherapy. Smith’s February 2020 PET scan and follow-up
medical appointments demonstrate that this continues to be true.
       I find that Smith’s lung cancer, along with his other medical conditions, could
constitute extraordinary and compelling reasons, even without considering the COVID-
19 pandemic.9 Smith suffers from stage IIIA non-small cell lung cancer. The five-year
overall survival rate for patients with this disease is 25 percent. Moreover, Smith’s
medical records suggest that the BOP delayed in diagnosing and treating Smith by more
than a year and that treatment thus far has been unsuccessful. The February 2020 PET
scan, post-chemotherapy, indicates several areas of concern: his left lung was suspicious


9
 While the Guidelines do not constrain my determination of what constitutes extraordinary and
compelling circumstances, if they did, Smith’s situation fits within Guideline § 1B1.13 cmt.
n.1(A)(ii). That Guideline provides that extraordinary and compelling reasons exist if a
defendant is suffering from a serious medical condition that substantially diminishes the ability
of the defendant to provide self-care within the environment of a correctional facility and from
which she is not expected to recover.

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for a residual or recurrent tumor, and his cancer has possibly spread to his right perihilar
lymph nodes, bony structures in his lower thoracic and lumbar spine region and his
tongue base and palatine tonsil regions. Even though Dr. Carden has written that this
situation is “urgent” and other treatment notes indicate Smith’s cancer is still present and
has even spread, there is no indication in the record that the abnormalities in the PET
scan have been diagnosed and treated.10
       Besides cancer, Smith also suffers from a number of other serious health
conditions, including chronic back pain that prevents him from ambulating independently
for more than short distances. He must use a walker to ambulate long distances. He has
been issued a wheelchair and is noted to have used it at medical appointments. He also
suffers from COPD and reports needing to use his inhaler two or three times a day
because of shortness of breath while conducting activities of daily living.
       Other district courts have found extraordinary and compelling reasons in similar
situations. See United States v. Pesterfield, No. CR14-00014, Doc. No. 756, at *3 (E.D.
Tenn. May 6, 2019) (defendant had stage IIIB metastatic colorectal cancer that had spread
to her lymph nodes); Beck, 2019 WL 2716505, at *1 (defendant had invasive metastatic
breast cancer that had spread to her lymph nodes); United States v. Wong Chi Fai, No.
CR93-1340, 2019 WL 3428504, at *1 (E.D.N.Y. July 30, 2019) (defendant had
metastatic papillary thyroid cancer that obstructed his airway); United States v. Gasich,
No. CR14-63, 2019 WL 4261614, at *1 (N.D. Ind. Sept. 9, 2019) (defendant had stage
four metastatic breast cancer that had spread to her bones, lymph nodes, chest muscle,
wall, and liver); United States v. Gray, 416 F. Supp. 3d 784, 789 (S.D. Ind. 2019)
(defendant had liver cancer); United States v. Spears, No. CR98-0208, 2019 WL
5190877, at *1 (D. Ore. Oct. 15, 2019) (defendant had metastatic prostate cancer).


10
  On February 21, 2020, Dr. Carden wrote that Smith needed to undergo another PET scan in
two months. Doc. No. 92-3 at 17. The record does not demonstrate that has happened yet. On
March 27, 2020, Dr. Hartwig wrote that he needed to get images of Smith “ASAP” and plan a
biopsy. Id. at 38. The record does not demonstrate that has happened yet either.
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However, even though Smith’s medical history could, alone, constitute an extraordinary
and compelling reason to grant relief, I will consider the additional factor of the COVID-
19 pandemic. As noted above, I am not required to restrain my review to the record as
it existed when Smith filed his initial request but can consider subsequent developments.


       2.      COVID-19 Pandemic
       The COVID-19 pandemic adds a greater urgency to the extraordinary and
compelling reasons that already exist here. The Centers for Disease Control (CDC) lists
nine categories of people who might be at higher risk from severe illness from COVID-
19. CDC, People Who Are at Higher Risk for Severe Illness, Centers for Disease
Control, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-
higher-risk.html (last visited May 14, 2020). Smith is in at least three of those categories.
Smith suffers from COPD, a chronic lung disease, is severely obese and has very recently
undergone cancer treatment and is likely to need further treatment that leaves him
immunocompromised.
       First, Smith has chronic COPD. Doc. No. 92-3 at 15. One study has found that
COPD is associated with a more than five-fold increased risk of severe COVID-19
infection.11
       Second, Smith is severely obese. His most recent medical record indicates that he
weighs approximately 314 pounds and is 6 feet tall. Id. at 33. This corresponds to a
body mass index (BMI) of 42.6. 12 The CDC’s website states that obesity corresponding



11
  Giuseppe Lippi and Brandon Michael Henry, Chronic Obstructive Pulmonary Disease is
Associated with Severe Coronavirus Disease 2019 (COVID-19), 167 Respiratory Medicine
105941 (2020), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7154502/pdf/main.pdf.
12
         Adult        BMI       Calculator,   Centers      for      Disease       Control,
https://www.cdc.gov/healthyweight/assessing/bmi/adult_bmi/english_bmi_calculator/bmi_calc
ulator.html (last visited May 19, 2020).

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to a BMI of 40 or higher makes one high-risk for severe illness from COVID-19. 13 One
study has found that patients less than 60 years old with a BMI greater than 35 who are
infected with COVID-19 are two to three times more likely to be admitted to acute and
critical care than other patients in the same age category with lower BMIs. 14
             Third, Smith has recently undergone cancer treatment and medical records
demonstrate he is likely to need further treatment. Cancer patients are more vulnerable
to serious illness from COVID-19 because cancer and cancer treatment depress the
immune system.15 Cancer patients who contract COVID-19 are nearly three times more
likely to die from the virus than the general population and patients with lung cancer are
likely even more vulnerable because of reduced lung function.16
            Since the beginning of the COVID-19 pandemic, numerous courts have held that
a defendant’s health conditions and the presence COVID-19 within BOP facilities
constitute extraordinary and compelling reasons for compassionate release. See, e.g.,
United States v. Lopez, No. 18-CR-2846 MV, 2020 WL 2489746, at *3 (D.N.M. May
14, 2020) (defendant was 62 years old and suffering from high blood pressure and type
II diabetes); United States v. Handy, No. 3:10-cr-128-8 (RNC), 2020 WL 2487371, at
*1 (D. Conn. May 14, 2020) (defendant was 53 years old and suffering from congestive
heart failure, hypertension, obesity and chronic knee issues); United States v. Ginsberg,
No. 14 CR 462, 2020 WL 2494643, at *2 (N.D. Ill. May 14, 2020) (defendant was 56

13
    People Who Are at Higher Risk for Severe Illness, Centers for Disease Control,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-risk.html
(last visited May 14, 2020).
14
  Jennifer Lighter et al, Obesity in Patients Younger Than 60 Years Is a Risk Factor for COVID-
19        Hospital        Admission,        Clinical     Infectious       Diseases        (2020),
https://academic.oup.com/cid/advance-article/doi/10.1093/cid/ciaa415/5818333.
15
   Laurie McGinley, Patients with Certain Cancers are Nearly Three Times as Likely to Die of
COVID-19,       Study       Says,      Washington      Post      (Apr.      28,       2020),
https://www.washingtonpost.com/health/2020/04/28/coronavirus-cancer-deathrates/.
16
     Id.
                                               18

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and had a history of cardiac and respiratory disease); United States v. Gutman, No. RDB-
19-0069, 2020 WL 2467435, at *2 (D. Md. May 13, 2020) (defendant was 56 and
suffering from multiple sclerosis and hypertension); United States v. Rivernider, No.
3:10-cr-222 (RNC), 2020 WL 2393959, at *1 (D. Conn. May 12, 2020) (defendant was
54 and suffering from diabetes, heart disease and hypertension); United States v. Ullings,
No. 1:10-cr-00406, 2020 WL 2394096, at *1 (N.D. Ga. May 12, 2020) (defendant was
66 and suffering from hypertension and obesity); United States v. Reddy, No. 13-cr-
20358, 2020 WL 2320093, at *1 (E.D. Mich. May 11, 2020) (defendant was 73 years
old and suffering from type II diabetes, hypertension and orthopedic problems); United
States v. Foreman, No. 3:19-cr-62 (VAB), 2020 WL 2315908, at *3 (D. Conn. May 11,
2020) (defendant was 58 years old and suffering from hypertension and obesity); United
States v. Simpson, No. 11-cr-00832-SI-3, 2020 WL 2323055, at *1 (N.D. Cal. May 11,
2020) (defendant was 62 years old and suffering from asthma and diabetes); United States
v. Valencia, No. 15 Cr. 163 (AT), 2020 WL 2319323, at *1 (S.D.N.Y. May 11, 2020)
(defendant was suffering from heart disease, high blood pressure and epileptic seizures);
United States v. Joseph, No. 18-cr-00350-BLF-1, 2020 WL 2315806, at *1 (N.D. Cal.
May 8, 2020) (defendant was 60 years old and suffering from lung scarring resulting
from coccidioidomycosis); United States v. Pena, No. 15-cr-551 (AJN), 2020 WL
2301199, at *4 (S.D.N.Y. May 8, 2020) (defendant was 60 years old and suffering from
hypertension and hyperlipdermia); United States v. Amarrah, No. 17-20464, 2020 WL
2220008, at *4 (E.D. Mich. May 7, 2020) (defendant was 45 years old and suffering
from type II diabetes, hypertensive heart disease, cardiac arrhythmia, obstructive sleep
apnea and asthma); United States v. Diep Thi Vo, No. 15-cr-00310-BLF-2, 2020 WL
2300101, at *3 (N.D. Cali. May 7, 2020) (defendant was 74 years old and suffering from
hyperlipidemia, hypertension, vision issues and osteoarthritis); Casey v. United States,
No. 4:18-cr-4, 2020 WL 2297184, at * (E.D. Va. May 6, 2020) (defendant was 76 years
old and suffering from serious cardiac issues); United States v. Howard, 4:15-CR-00018-
BR, 2020 WL 2200855, at *3 (E.D.N.C. May 6, 2020) (defendant was 52 years old and
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suffering from COPD, type II diabetes, obesity, stage 3 kidney disease, edema and a
diaphragmatic hernia); United States v. Quintero, No. 08-CR-6007L, 2020 WL 2175171,
at *1 (W.D.N.Y. May 6, 2020) (defendant was suffering from diabetes, a compromised
immune system, obesity and hypertension); United States v. Saad, No. 16-20197, 2020
WL 2251808, at *5 (E.D. Mich. May 5, 2020) (defendant was 71 years old and suffering
from chronic kidney disease, hypertension, pulmonary hypertension, sleep apnea and
shingles); United States v. Reid, No. 17-cr-00175-CRB-2, 2020 WL 2128855, at *1
(N.D. Cali. May 5, 2020) (defendant was 71 years old and suffering from Valley Fever,
hypertension and high cholesterol and is a prostate cancer survivor); United States v.
McCarthy, No. 3:92-CR-0230 (JCH), 2020 WL 1698732, at *5 (D. Conn. Apr. 8, 2020)
(defendant was 65 years old and suffering from asthma and COPD).
       While the BOP has taken measures to prevent the transmission of COVID-19
among its inmate population,17 it has nonetheless spread through many BOP facilities.
The BOP reported on May 1, 2020, that it had tested 2,700 out of the 146,000 inmates
within the BOP system for COVID-19, with 70 percent of those tested being positive. 18
As of May 27, 2020, 5 inmates and 10 staff members had tested positive for COVID-19
at Smith’s facility, FMC Butner.19 On the same BOP campus, 161 inmates and 10 staff
members at Butner Low FCI, along with 1 inmate at Butner Medium II FCI and 231



17
   According to the BOP’s website, it has taken many steps to protect inmates from exposure,
including limiting inmate movement within each facility and between facilities, suspending visits,
suspending staff training and travel, screening staff and inmates for COVID-19 symptoms and
modifying operations to maximum social distancing to the extent possible. BOP Implementing
Modified            Operations,           Federal          Bureau            of          Prisons,
https://www.bop.gov/coronavirus/covid19_status.jsp (last visited May 11, 2020).
18
       Bureau      of     Prisons,    Twitter,    (May    1,           2020,      8:03      AM),
https://twitter.com/OfficialFBOP/status/1256207531820662785.
19
   COVID-19 Cases, Bureau of Prisons, https://www.bop.gov/coronavirus/ (last visited May
28, 2020).

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inmates and 27 staff members at Butner Medium I FCI, have tested positive. 20 Without
a doubt, COVID-19 is present at Butner FMC and the larger Butner Federal Correctional
Complex.
       In arguing that the COVID-19 pandemic and Smith’s health conditions do not
constitute extraordinary and compelling reasons, the Government asserts that Smith “has
been tested for COVID-19 on March 27, 2019, and twice daily from April 30, 2020,
through May 5, 2020.” Doc. No. 94 at 17. This is simply false, as Smith was screened
for symptoms, not “tested,” on these dates. Doc. No. 94-9 at 13; Doc. No. 94-10 at 3–
4. In any event, given the presence of COVID-19 at FMC Butner, and the larger Butner
campus, Smith is at risk of contracting the virus at any point after he tests negative.
While Smith’s lung cancer and other health conditions, standing alone, constitute
extraordinary and compelling reasons, the COVID-19 pandemic makes Smith’s situation
even more extraordinary and compelling.


C.     Section 3553(a) Factors and Danger to Community
       Whether Smith is a danger to the community and whether the § 3553(a) factors
support Smith’s release are the most challenging questions in this case. Guideline §
1B1.13(2) provides that compassionate release is appropriate only where “the defendant
is not a danger to the safety of any other person or to the community, as provided in 18
U.S.C. § 3142(g)[.]” Section § 3582(c)(1)(A) requires a court to consider the factors set
forth in 18 U.S.C. § 3553(a) before granting a motion for compassionate release. Section
3553(a) requires that I consider:
       (1) the nature and circumstances of the offense and the history and
       characteristics of the defendant;
       (2) the need for the sentence imposed—


20
   Id. Butner Medium I FCI houses 883 inmates, meaning 26 percent of its population has tested
positive for COVID-19.       See FCI Butner Medium I, Federal Bureau of Prisons,
https://www.bop.gov/locations/institutions/but/ (last visited May 21, 2020).
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           (A) to reflect the seriousness of the offense, to promote respect for
           the law, and to provide just punishment for the offense;
           (B) to afford adequate deterrence to criminal conduct;
           (C) to protect the public from further crimes of the defendant; and
           (D) to provide the defendant with needed educational or vocational
           training, medical care, or other correctional treatment in the most
           effective manner;
       (3) the kinds of sentences available;
       (4) the kinds of sentence and the sentencing range established for—
           (A) the applicable category of offense committed by the applicable
           category of defendant as set forth in the guidelines [issued by the
           Sentencing Commission . . .;]
       (5) any pertinent policy statement [issued by the Sentencing Commission .
       . .’]
       (6) the need to avoid unwarranted sentence disparities among defendants
       with similar records who have been found guilty of similar conduct; and
       (7) the need to provide restitution to any victims of the offense.
18 U.S.C. § 3553(a).
       Smith acknowledges that his present offense is very serious. Doc. No. 92 at 6.
However, he argues that he has been incarcerated for approximately 154 months and this
demonstrates the seriousness of his offense given his present health conditions. 21 Id. He
contends that he is no longer a danger to the community because of his health conditions.
Id. Smith states that if he were released, he has family who will support him and assist
him in obtaining housing. Id. at 9.
       The Government argues that Smith would be a danger to the community if he were
released. Doc. No. 94 at 18. The Government argues that Smith was a significant drug
dealer who dealt for years, and also possessed and used firearms during the drug


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  Because Smith is currently serving a sentence of “life” there is not an official BOP good time
credit calculation available. Considering the formula in 18 U.S.C. § 3624(b) and the length of
his incarceration to date, if the BOP were calculating a potential release date for Smith, he may
be eligible for between zero and 700 days of good time credit.
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conspiracy for protection and to threaten others. Id. The Government points to Smith’s
criminal history, which includes violence. Id. The Government argues that the factors
against compassionate release outweigh Smith’s medical concerns related to COVID-19.
Id. The Government also claims that Smith has not established that he would be less
vulnerable to exposure to COVID-19 if he were released. Id.
         Considering the § 3553(a) factors, the nature and circumstances of the instant
offense and Smith’s criminal history are undoubtedly serious and weigh against granting
compassionate release. As to the present offense, Smith participated in a conspiracy to
distribute methamphetamine. Doc. No. 59 at ¶ 28. During the course of the conspiracy,
Smith used a minor to “middle” many methamphetamine transactions. Id. at ¶¶ 17.
Smith directed the minor to have sex with some individuals to pay for drugs or pay off
drug debts. Id. Smith possessed a firearm and used it to threaten others during the
conspiracy. Id. at ¶¶ 22, 25, 26. Smith led law enforcement officers on a high-speed
chase through Fort Dodge, Iowa. Id. at ¶ 13. Smith also has a lengthy criminal history,
including some violence. Id. at ¶ 48–60.
         Judge Bennett could not consider the Section 3553(a) factors at Smith’s sentencing
because of the mandatory minimum of life in prison. If he had been permitted to consider
those factors, it appears that he would have imposed a sentence less than life in prison.
At sentencing, Judge Bennett said:
         It’s always a shame and a waste, almost always, when I have to impose a
         life sentence. It certainly is in this case because his guideline range is so
         much lower.[22] And many members of the federal judiciary are opposed
         to mandatory minimums, and I include myself in that. And this is just
         another example of what I think results in an injustice. . . .
         I’m not making any findings under Title 18, 3553(a) because it does not
         come into play. 3553(a) requires that I make a finding that the sentence is
         sufficient but not greater than necessary. Obviously in this case I think the
         sentence is greater than necessary, but the mandatory minimum trumps the
         factors in Title 18, 3553(a).

22
     Smith’s advisory guideline range was 262 to 327 months. Doc. No. 59-2 at 3.
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Doc. No. 64 at 9.
       Additionally, while in no way dispositive, it is worth noting that if Smith were
sentenced today, his mandatory minimum would no longer be life in prison. Under the
FSA, the 21 U.S.C. § 851 enhanced penalties for Class A drug felonies were amended
from life to 25 years for defendants who have had two or more prior qualifying serious
drug offenses, and amended from 20 years to 15 years for defendants who have had one
prior qualifying drug offense. Pub. L. No. 115-391, § 401(a)(2)(A), 132 Stat. 5194,
5220. The FSA also amended the definition of a “serious drug offense.” Id. § 401(a)(1).
Under the new definition, at least one, perhaps two, of Smith’s three prior drug offenses
would no longer meet the definition of a serious drug offense.23 Doc. No. 59 at ¶¶ 54,
58, 59. With only two prior drug offenses, Smith would have been subject to a 25-year
mandatory minimum on his drug charge and a 5-year mandatory minimum on his gun
charge. With only one prior drug offense, Smith would have been subject to a 15-year
mandatory minimum on the drug charge and a 5-year mandatory minimum on his gun
charge.24
       The remaining § 3553(a) factors outweigh the seriousness of the present offense
and Smith’s criminal history. Smith’s most relevant personal characteristic is his poor
health and vulnerability to COVID-19, and that weighs heavily in favor of release. Smith
has been diagnosed with stage IIIA non-small cell lung cancer and his mobility is
extremely limited because of back pain. He has served much of his sentence while
battling his health problems and experiencing significant pain. This means that his
sentence has been significantly more laborious than that served by most inmates. See

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   Smith’s 2004 drug conviction in Santa Clara, California, does not meet the definition of a
serious drug offense under the current law. Doc. No. 59 at ¶ 58. I do not have sufficient
information to determine whether the 1990 drug conviction from Wright County, Iowa, meets
the current definition of a serious drug offense. Id. at ¶ 54. Smith’s 1995 federal drug conviction
does. Id. at ¶ 59.
24
   There would be a corresponding reduction in his guidelines range but calculating that reduction
is too speculative at this juncture.
                                                24

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United States v. McGraw, No. CR02-00018, 2019 WL 2059488, at *5 (S.D. Ind. May
9, 2019); Beck, 2019 WL 2716505, at *11; United States v. Gray, No. CR02-00018,
2019 WL 4572816, at *5 (S.D. Ind. Sept. 20, 2019).
       Smith has been incarcerated for approximately 154 months.                His difficult
incarceration, his health-related physical limitations and the continued restrictions on his
freedom through the use of supervised release, together, satisfy the goal of imposing
sufficient punishment. In addition, releasing Smith under these unusual circumstances—
his poor health and the COVID-19 pandemic—will not undermine the goal of deterrence.
Smith’s release will also not produce an unwarranted sentencing disparity because it
accounts for his unique medical circumstances.25
       Releasing Smith to home confinement will not subject the public to risk. In
Smith’s current state, his ability to be a threat is significantly diminished. In addition,
Smith’s criminal history corresponds to periods of his life when he was a
methamphetamine user. Smith used methamphetamine from 1988 to 1995, when he was
incarcerated for a prior federal drug offense. Doc. No. 59 at ¶ 59, 79. Most of Smith’s
criminal history occurred during this timeframe. Id. at ¶¶ 48–59. While on supervised
released from 2001 to 2005, Smith reported that he did not use methamphetamine and he
never failed a random urinalysis test. Id. at ¶¶ 79, 84. However, he was convicted of
operating while intoxicated during his period of supervised release. Id. at ¶ 60. Smith
began to use methamphetamine again in 2006, which is also when the conduct underlying
the instant offense started. Id. at ¶ 79. Smith will be subject to supervised release and
his record demonstrates that he is amenable to supervision. This reduces whatever risk
he may otherwise pose to the public. See Schmitt, 2020 WL 96904, at *5.




25
   Additionally, as noted above, individuals with Smith’s history are no longer subject to the
same sentencing requirements he was, and similarly situated individuals from the era of his
conviction have the same opportunity to move for compassionate release if they find themselves
in the same health situation.
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       The applicable Section 3553(a) factors discussed above, and in relation to Smith’s
potential danger to the community, support compassionate release. Granting Smith’s
motion for compassionate release, in light of the 154 months he has already served, will
still reflect the seriousness of the offenses, promote respect for the law, provide just
punishment for the offenses, afford adequate deterrence to criminal conduct and protect
the public from further crimes. After considering all of the applicable factors, I find that
Smith is eligible for compassionate release and will therefore grant his motion and impose
a ten-year term of supervised release.


                                  V.     CONCLUSION
       For the foregoing reasons:
       1.     Defendant Gene Leonard Smith’s motions (Doc. No. 85, 92) for
compassionate release are granted.
       2.     Smith’s term of imprisonment is hereby reduced to time served, subject to
the following paragraph.
       3.     Execution of this order is stayed for twenty-one (21) days to allow the
Bureau of Prisons and United States Probation an opportunity to make the necessary
arrangements for Smith’s release.
       4.     Upon release from BOP custody, Smith will be on supervised release for a
term of ten years.
       5.     An amended judgment will be entered separately to reflect the amended
sentence and to set forth all conditions of supervision that will apply to Smith.
       6.     The Clerk of Court shall provide a copy of this order to the Probation Office
and the institution where Smith is incarcerated.




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 IT IS SO ORDERED.
 DATED this 1st day of June, 2020.




                                __________________________
                                Leonard T. Strand, Chief Judge




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